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 8                        UNITED STATES DISTRICT COURT

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                            June 2016 Grand Jury

11   UNITED STATES OF AMERICA,             No. CR 15-00321(A)-GW

12             Plaintiff,                  F I R S T
                                           S U P E R S E D I N G
13                   v.                    I N D I C T M E N T

14   JOSEPH R. ALTAMIR.ANO,                [18 U.S.C. § 1349: Conspiracy to
                                           Commit Health Care Fraud;
15             Defendant.                  18 U.S.C. § 1347: Health Care
                                           Fraud; 18 U.S.C. § 2(b) Causing
16                                         an Act to be Done]

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19        The Grand Jury charges:

20                                   COUNT ONE

21                             [18 U.S.C. § 1349]

22   A.   INTRODUCTORY ALLEGATIONS

23        At all times relevant to this First Superseding Indictment:

24        1.   Defendant JOSEPH R. ALTAMIRANO, M.D. ("ALTAMIRANO")

25   was a physician who owned, operated, and oversaw a medical

26   clinic located at 5300 Santa Monica Blvd., Suite 202, Los

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 1   Angeles, California, within the Central District of California

 2   (the "Altamirano Clinic").

 3        2.    Co-conspirator "CC-1" was the office manager and

 4   biller for the Altamirano Clinic.

 5        3.    Co-conspirator "CC-2" was a "marketer" who recruited

 6   Medicare beneficiaries for the Altamirano Clinic.

 7        The Medicare Program

 8        4.    Medicare was a federal health care benefit program,

 9   affecting commerce, that provided benefits to individuals who

10   were 65 years and older or disabled.       Medicare was administered

11   by the Centers for Medicare and Medicaid Services ("CMS"), a

12   federal agency under the United States Department of Health and

13   Human Services.    Medicare was a "health care benefit program" as

14   defined by Title 18, United States Code, Section 24(b).

15        5.    Individuals who qualified for Medicare benefits were

16   referred to as Medicare "beneficiaries."        Each beneficiary was

17   given a unique health insurance claim number ("HICN")           Home

18   health agencies ("HHAs"), hospices, durable medical equipment

19   ("DME") supply companies, physicians, and other health care

20   providers that provided medical services that were reimbursed by

21   Medicare were referred to as Medicare "providers."

22        6.    To participate in Medicare, providers were required to

23   submit an application in which the provider agreed to comply

24   with all Medicare-related laws and regulations.         If Medicare

25   approved a provider's application, Medicare assigned the

26   provider a Medicare "provider number," which was used for

27   processing and payment of claims.

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 1        7.    A health care provider with a Medicare provider number

 2   could submit claims to Medicare to obtain reimbursement for

 3   services rendered to Medicare beneficiaries.

 4        8.    Most providers submitted their claims electronically

 5   pursuant to an agreement they executed with Medicare in which

 6   the providers agreed that: (a) they were responsible for all

 7   claims submitted to Medicare by themselves, their employees, and

 8   their agents; (b) they would submit claims only on behalf of

 9   those Medicare beneficiaries who had given their written

10   authorization to do so; and (c) they would submit claims that

11   were accurate, complete, and truthful.

12        9.    Medicare generally reimbursed a provider for physician

13   services that were medically necessary to the health of the

14   beneficiary and were personally furnished by the physician or

15   the physician's employee under the physician's direction.

16        10.   Medicare generally reimbursed a provider for DME only

17   if the DME was prescribed by the beneficiary's physician, the

18   DME was medically necessary to the treatment of the

19   beneficiary's illness or injury, and the DME supply company

20   provided the DME in accordance with Medicare regulations and

21   guidelines, which governed whether Medicare would reimburse a

22   particular item or service.      For power wheelchairs ("PWCs"),

23   Medicare required the DME supply company to have and maintain

24   documentation showing that the physician ordering the PwC

25   performed a face-to-face evaluation of the patient.

26        11.   Medicare generally reimbursed a provider for home

27   health services only if, among other requirements, the Medicare

~R   beneficiary was homebound and did not have a willing caregiver
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 1   to assist him or her; the beneficiary needed skilled nursing

 2   services or physical or occupational therapy services; the

 3   beneficiary was under the care of a qualified physician who

 4   established a Plan of Care (CMS Form 485) for the beneficiary,

 5   signed by the physician and also signed by a registered nurse

 6   ("RN") from the HHA; and the skilled nursing services or

 7   physical or occupational therapy were medically necessary.

 8          12.    CMS contracted with regional contractors to process

 9   and pay Medicare claims.     Noridian Administrative Services

10   ("Noridian") was the contractor that processed and paid Medicare

11   DME claims in Southern California during the relevant time

12   period.      Noridian was the contractor that processed claims

13   involving Medicare Part B physician services in Southern

14   California from approximately September 2013 to the present.

15   Prior to Noridian, the contractor for Part B physician services

16   was Palmetto GBA from 2009 to 2013.       Prior to Palmetto GBA, the

17   contractor for Part B physician services was National Health

18   Insurance Company from 2005 to 2009.       National Government

19   Services ("NGS") was the contractor that processed and paid

20   Medicare claims for home health services in Southern California

21   during the relevant time period.

22          13.   To bill Medicare for physician services or DME

23   provided to a beneficiary, a provider was required to submit a

24   claim form (Form 1500) to the Medicare contractor processing

25   claims at that time.     To bill Medicare for home health services,

26   a provider was required to submit a claim form (Form UB-04) to

27   NGS.   When a Form 1500 or Form UB-04 was submitted, usually in

~R   electronic form, the provider was required to certify:
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 1                a.   that the contents of the form were true, correct,

 2   and complete;

 3                b.   that the form was prepared in compliance with the

 4   laws and regulations governing Medicare; and

 5                c.   that the services being billed were medically

 6   necessary.

 7        14.     A Medicare claim for payment was required to set

 8   forth, among other things, the following: the beneficiary's name

 9   and unique Medicare identification number; the type of services

10   provided to the beneficiary; the date that the services were

11   provided; and the name and Unique Physician Identification

12   Number ("UPIN") or National Provider Identifier ("NPI") of the

13   physician who prescribed or ordered the services.

14   B.   THE OBJECT OF THE CONSPIRACY

15        15.   Beginning in or around January 2005, and continuing

16   through in or around May 2015, in Los Angeles County, within the

17   Central District of California, and elsewhere, defendant

18   ALTAMIRANO, together with CC-1, CC-2, and others known and

19   unknown to the Grand Jury, knowingly combined, conspired, and

20   agreed to commit health care fraud, in violation of Title 18,

21   United States Code, Section 1347.

22   C.   THE MANNER AND MEANS OF THE CONSPIRACY

23        16.   The object of the conspiracy was carried out, and to

24   be carried out, in substance, as follows:

25              a.     In or around January 2005, defendant ALTAMIRANO

26   opened a bank account at Washington Mutual Bank, account number

27   **** 5319 (the "WaMu Account")       Defendant ALTAMIRANO was the

~R   sole signatory on this account.
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 1               b.   In or around February 2005, defendant ALTAMIRANO

 2   began submitting claims to Medicare and depositing checks from

 3   Medicare into the WaMu Account.

 4               c.   In or around May 2011, defendant ALTAMIRANO added

 5   co-conspirator CC-1 as a signatory on the WaMu Account.

 6               d.   In or around August 2011, defendant ALTAMIRANO

 7   opened a bank account at Wells Fargo Bank, account number ****

 8   4663 (the "Wells Fargo Account")        Defendant ALTAMIRANO and co-

 9   conspirator CC-1 were signatories on this account.          Medicare

10   payments for the Altamirano Clinic were subsequently deposited

11   into this account.

12               e.   In or around August 2013, defendant ALTAMIRANO

13   submitted to Medicare a revalidation application for the

14   Altamirano Clinic.    In this application, defendant ALTAMIRANO

15   listed himself as an individual practitioner and sole contact

16   for the Altamirano Clinic.

17               f.   Individuals known as "marketers," including CC-2,

18   traveled throughout Southern California to recruit Medicare

19   beneficiaries and take them to the Altamirano Clinic.          To induce

20   the beneficiaries, the marketers told the beneficiaries, among

21   other things, that Medicare had a limited-time offer for free

22   PWCs and that the beneficiaries could receive free vitamins.

23               g.   The marketers, including CC-2, brought Medicare

24   beneficiaries to the Altamirano Clinic so that defendant

25   ALTAMIRANO could write medically unnecessary prescriptions for

26   DME and medically unnecessary certifications for home health

27   services.

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 1              h.    At times, while the beneficiaries were at the

 2   Altamirano Clinic, conspirators provided them with certain

 3   medically unnecessary services, including blood draws and

 4   ultrasounds.    At other times, conspirators gave the

 5   beneficiaries toenail trimmings and foot massages.          At still

 6   other times, the beneficiaries received few or no services.

 7              i.    At times, while the beneficiaries were at the

 8   Altamirano Clinic, defendant ALTAMIRANO met with them briefly,

 9   but often did not physically examine them.        At other times, the

10   beneficiaries did not meet defendant ALTAMIRANO at all.

11              j.    Subsequently, defendant ALTAMIRANO and his co-

12   conspirators, including co-conspirator CC-1 and others known and

13   unknown to the Grand Jury, submitted and caused the submission

14   of false and fraudulent claims to Medicare for services that, as

15   defendant ALTAMIRANO then well knew, were not provided to the

16   beneficiaries, including, depending on the beneficiary, nerve

17   conduction velocity studies ("NCVs"), removal of finger and toe

18   tissue, office visits, physical therapy, and some ultrasounds.

19   These beneficiaries included D.B., G.R., L.H., M.A., K.S., V.K.,

20   and T.A.

21              k.   In order to conceal the false and fraudulent

22   claims that defendant ALTAMIRANO and his co-conspirators

23   submitted and caused to be submitted to Medicare for services

24   that were not provided to the beneficiaries, defendant

25   ALTAMIRANO falsified and caused to be falsified patient charts

26   to reflect (1) services that the beneficiaries did not receive

27   from defendant ALTAMIRANO and (2) medical conditions that the

7R   beneficiaries were not then experiencing.
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 1                1.   Defendant ALTAMIRANO signed prescriptions for DME

 2   items, including PwCs and related accessories, that defendant

 3   ALTAMIRANO then well knew were not medically necessary.

 4   Defendant ALTAMIRANO provided these prescriptions to CC-2 and

 5   other co-conspirators known and unknown to the Grand Jury.

 6   Defendant ALTAMIRANO also knew that these prescriptions would be

 7   used to submit fraudulent claims to Medicare for DME, including

 8   PWCs and related accessories.      The beneficiaries in whose names

 9   these claims were submitted include B.A., C.A., G.R., G.S., and

10   M.H.

11                m.   In addition, defendant ALTAMIRANO signed home

12   health certifications that defendant ALTAMIRANO then well knew

13   were not medically necessary.      Defendant ALTAMIRANO provided

14   these certifications to other co-conspirators, so that they

15   could be used by HHAs to submit false and fraudulent claims to

16   Medicare for home health services.       The beneficiaries in whose

17   names these claims were submitted include T.A.

18                n.   As a result of the submission of the false and

19   fraudulent claims described above, Medicare made payments by

20   check to Altamirano, as well as payments to numerous bank

21   accounts, including the Wells Fargo Account, on which defendant

22   ALTAMIRANO was a signatory.

23          17.   Between in or around January 2006, and in or around

24   May 2015, defendant ALTAMIRANO and his co-conspirators submitted

25   and caused the submission of approximately $21,812,638 in claims

26   to Medicare, resulting in Medicare payments of approximately

27   $11,143,045.

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 1                           COUNTS TWO THROUGH SEVEN

 2                          [18 U.S.C. §§ 1347, 2(b)]

 3    A.    INTRODUCTORY ALLEGATIONS

 4          18.   The Grand Jury incorporates by reference and re-

 5    alleges paragraphs 1 through 14 and 16 through 17 of this First

 6    Superseding Indictment as though set forth in their entirety

 7    herein.

 8   ~ B.   THE SCHEME TO DEFRAUD

 9          19.   Beginning in or around January 2005, and continuing

10    through in or around May 2015, in Los Angeles County, within the

11    Central District of California, and elsewhere, defendant

12   ALTAMIRANO, together with CC-1, CC-2, and others known and

13   unknown to the Grand Jury, knowingly, willfully, and with intent

14    to defraud, executed, and attempted to execute, a scheme and

15   artifice: (a) to defraud a health care benefit program, namely

16   Medicare, as to material matters in connection with the delivery

17   of and payment for health care benefits, items, and services;

18   and (b) to obtain money from Medicare by means of material false

19   and fraudulent pretenses and representations and the concealment

20   of material facts in connection with the delivery of and payment

21   for health care benefits, items, and services.

22   C.     MEANS TO ACCOMPLISH THE SCHEME TO DEFRAUD

23          20.   The fraudulent scheme operated, in substance, as

24   described in paragraph 16 of this First Superseding Indictment,

25   which is hereby incorporated by reference as though set forth in

26   its entirety herein.

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 1 ID.       THE EXECUTION OF THE FRAUDULENT SCHEME

 2           21.    On or about the dates set forth below, within the

 3   Central District of California, and elsewhere, defendant

 4   ALTAMIRANO, together with CC-1, CC-2, and others known and

 5   unknown to the Grand Jury, for the purpose of executing and

 6   attempting to execute the fraudulent scheme described above,

 7   knowingly and willfully submitted and caused to be submitted to

 8   Medicare for payment the following false and fraudulent claims:

 9    COUNT        BENEFICIARY    CLAIM NUMBER       APPROX.         APPROX.
                                                      DATE          AMOUNT OF
10
                                                    SUBMITTED         CLAIM
11
       TWO            L.H.       551111116002990    4/26/2011        $702.00
12

13    THREE           D.B.       551111283230230   10/10/2011        $702.00

14     FOUR           T.A.       551113116674600    4/26/2013        $20.0.00

15
       FIVE           K.S.       551814156723390    6/5/2014         $400.00
16

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 1
      COUNT   BENEFICIARY       CLAIM NUMBER         APPROX.        APPROX.
 2                                                    DATE         AMOUNT OF
                                                    SUBMITTED        CLAIM
 3
       SIX        V.K.         551814156722950      6/5/2014         $400.00
 4

 5    SEVEN       K.S.         551815138491890      5/18/2015        $200.00

 6

 7
                                              A TRUE BILL
 8

 9
                                                             Isl
                                              Foreperson
10
     EILEEN M. DECKER
11   United States Attorney

12

13
     ~
     ~~~
14   LAWRENCE S. MIDDLETON
     assistant United States Attorney
15   thief, Criminal Division

16   GEORGE CARDONA
     assistant United States Attorney
17   ~hief, Major Frauds Section

18   2ANEE KATZENSTEIN
     assistant United States Attorney
19   )eputy Chief, Major Frauds Section

20   fOSEPH BEEMSTERBOER
     )eputy Chief, Fraud Section
21   Jnited States Department of Justice

22   )IIDRI ROBINSON
     assistant Chief, Fraud Section
23   Tnited States Department of Justice

24   ALEXANDER F. PORTER
     'rial Attorney, Fraud Section
25   Tnited States Department of Justice

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